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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

                               CASE NO.: 6:24-cv-00172-ADA

TESLA, INC.,

       Plaintiff,
v.

THE INDIVIDUALS, PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

       Defendants.
                                          /

     NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS ONLY

       PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and by undersigned

counsel, Plaintiff hereby voluntarily dismisses with prejudice all claims against the following

Defendants:

       CEBAT (Defendant No. 54 on Schedule “A” to the Complaint),

       Cigreen Car Refrigerator (Defendant No. 59 on Schedule “A” to the Complaint),

       EVDANCE (Defendant No. 77 on Schedule “A” to the Complaint),

       KIWEN Direct (Defendant No. 144 on Schedule “A” to the Complaint),

       MoYuanZhai (Defendant No. 189 on Schedule “A” to the Complaint),

       Roadress (Defendant No. 235 on Schedule “A” to the Complaint),

       ROYALLOVE (Defendant No. 238 on Schedule “A” to the Complaint),

       TESBEAUTY (Defendant No. 277 on Schedule “A” to the Complaint),

       XuLianWatasd (Defendant No. 326 on Schedule “A” to the Complaint), and

       YTbeauty (Defendant No. 344 on Schedule “A” to the Complaint).
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Date: May 16, 2024                        Respectfully submitted by,

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                                          /s/ A. Robert Weaver
                                          A. Robert Weaver
                                          Fla. Bar No. 92132
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                                          Counsel for Plaintiff




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